Case 2:24-cv-05205-FMO-MAA          Document 22-1    Filed 10/03/24   Page 1 of 3 Page ID
                                          #:850


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     Lacey (in her individual capacity and as
13   trustee of the D and J Lacey Lacey Family
     Trust); Estate of David Lacey
14
                              UNITED STATES DISTRICT COURT
15
                            CENTRAL DISTRICT OF CALIFORNIA
16
17
     JACQUELYN “JACKIE” LACEY, in                   Case No. 2:24-cv-05205-FMO-MAA
18   her individual capacity; and
     JACQUELYN “JACKIE” LACEY as                    Judge: Hon. Fernando M. Olguin
19   trustee of the D and J Lacey Family            Crtrm: 6D
     Trust dated November 23, 2016,
20                                                  DECLARATION OF RYAN Q.
                    Plaintiffs,                     KEECH IN SUPPORT OF
21                                                  PLAINTIFFS’ OPPOSITION TO
              vs.                                   STATE FARM’S MOTION TO
22                                                  COMPEL ARBITRATION
     STATE FARM GENERAL
23   INSURANCE COMPANY, an Illinois                 Date:         October 24, 2024
     corporation, and DOES 1-50, inclusive,         Time:         10:00 a.m.
24                                                  Courtroom:    6D
                    Defendants.
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                                  DECLARATION OF RYAN Q. KEECH
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Case 2:24-cv-05205-FMO-MAA         Document 22-1     Filed 10/03/24   Page 2 of 3 Page ID
                                         #:851


 1                              DECLARATION OF RYAN Q. KEECH
 2            I, Ryan Q. Keech, declare and state as follows:
 3            1.    I am an attorney at law, duly admitted to practice before this Court and all
 4   courts of the State of California. I am a partner at the law firm of K&L Gates LLP,
 5   counsel of record in this matter for Plaintiff Jacquelyn “Jackie” Lacey in her individual
 6   capacity and as trustee of the D and J Lacey Family Trust dated November 23, 2016. I
 7   have firsthand, personal knowledge of the facts set forth below and, if called as a
 8   witness, could and would testify competently thereto.
 9            2.    I have reviewed State Farm’s motion to compel arbitration. Dkt. 17.
10   State Farm’s motion to compel arbitration misrepresents – often grossly so –
11   several facts. I am compelled to correct some of these facts herein, and, unlike State
12   Farm’s declarants, am competent to do so on the basis of my representation in the
13   Abdullah action from 2021 through 2024.
14            3.    First, State Farm suggests that David Lacey tendered a second claim
15   requesting coverage based on the allegations of a Second Amended Complaint in
16   February 2021. Dkt. 17, at 1. This is false. Mr. Lacey’s tender, which State Farm
17   denied, was submitted in November 2020. State Farm refused that tender and, as
18   Plaintiffs allege, did so in bad faith and in breach of their contractual obligations. As
19   State Farm’s own exhibits show, there never was any new tender or separate tender of
20   the Second Amended Complaint.
21            4.    State Farm’s motion also asserts that its appointed panel counsel for Mrs.
22   Lacey, Mr. Harry Safarian, served as Mrs. Lacey’s lead counsel throughout the
23   pendency of the Abdullah action. and was paid by State Farm to do the bulk of legal
24   work as Mrs. Lacey’s lead counsel. Dkt. 17, at 3. This, too, is false. Because Mr.
25   Safarian and his firm did not have the expertise or resources necessary to handle a
26   case involving the profile and complexity of the Abdullah action, the significantly
27   heavier responsibilities of lead counsel for Mrs. Lacey in
28   the Abdullah action were borne by Mira Hashmall, Esq. and her colleagues at Miller

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                               DECLARATION OF RYAN Q. KEECH
     508425456.3
Case 2:24-cv-05205-FMO-MAA           Document 22-1   Filed 10/03/24   Page 3 of 3 Page ID
                                           #:852


 1   Barondess LLP. My understanding is that these attorneys were engaged and paid for
 2   by the County of Los Angeles as a result of Mrs. Lacey’s status as District Attorney
 3   for the County of Los Angeles. My understanding is also that these lawyers were,
 4   quite properly and justifiably, compensated at rates that were significantly higher than
 5   the rates State Farm paid its panel counsel for the defense in this action.
 6            5.   Although State Farm and, at times, its appointed panel counsel, both
 7   interfered with and inhibited the overall defense effort in ways alleged in Plaintiffs’
 8   complaint, it was Miller Barondess LLP who bore primary responsibility for
 9   the significant legal work involved in the defense of Mrs. Lacey. The law firms Ellis
10   George LLP and K&L Gates LLP bore the legal responsibility for Mr. Lacey.
11            6.   State Farm’s motion also repeatedly states that Plaintiffs and their
12   counsel “agreed” to their failure to pay Plaintiffs’ defense fees and costs. Dkt. 17, at
13   8-14. This is also not true. To be clear, neither Plaintiffs, nor any of the counsel that
14   Plaintiffs were forced to engage because of State Farm’s denial of coverage, ever
15   agreed to State Farm’s unilaterally determined and unsupported rates. In fact, all of
16   Plaintiffs’ counsel’s bills sent to State Farm reflected only the rates Plaintiffs’ counsel
17   expected to be paid in the Abdullah action.
18            7.   Finally, I understand from reviewing State Farm’s motion to compel
19   arbitration that they purport to take issue with the amounts of certain invoices
20   submitted in connection with Mr. Lacey’s defense. Dkt. 17, at 15-16. I was surprised
21   to read this and can confirm that State Farm did not raise these entries with Plaintiffs
22   prior to filing their motion.
23                 I declare under penalty of perjury under the laws of the United States of
24   America that the foregoing is true and correct.
25                 Executed at Los Angeles, California this 3 rd day of October, 2024.
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27                                                   __________________
                                                     Ryan K. Keech
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                               DECLARATION OF RYAN Q. KEECH
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